






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. PD-0923-09




BRIAN KEITH HENRICKS,  Appellant

v.

THE STATE OF TEXAS



ON APPELLANT’S PETITION FOR DISCRETIONARY REVIEW
FROM THE ELEVENTH COURT OF APPEALS
MONTGOMERY COUNTY



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.  Keasler and Hervey, JJ., dissent.

O R D E R 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petition for discretionary review violates Rule of Appellate Procedure 68.5
because the petition exceeds 15 pages.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petition is struck.  See Rule of Appellate Procedure 68.6.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.
En banc.
Delivered: October 28, 2009
Do Not Publish.


